        Case 15-71880-mgd            Doc 1-2 Filed 11/12/15 Entered 11/12/15 16:25:43                             Desc
                                       Exhibit Summons Page 1 of 2

Form B 250E (12/09)


                                   United States Bankruptcy Court
                                    Northern District Of Georgia
In re    Arterial Health International, LLC                         )    Case No.
                 Debtor*                                        )
                                                                )        Chapter: 7
                                                                )


                        SUMMONS TO DEBTOR IN INVOLUNTARY CASE

To the above named debtor:

         A petition under title 11, United States Code was filed against you in this bankruptcy court on
November 11, 2015, requesting an order for relief under chapter __7____ of the Bankruptcy Code
(title 11 of the United States Code).

       YOU ARE SUMMONED and required to file with the clerk of the bankruptcy court a motion
or answer to the petition within 21 days after the service of this summons. A copy of the petition is
attached.

               Address of the clerk: 75 Ted Turner Drive
                                     Richard Russell Federal Bldg.
                                      13th Floor
                                      Atlanta, GA 30303
At the same time, you must also serve a copy of your motion or answer on petitioner’s attorney.

               Name and Address of Petitioner’s Attorney: Theodore N. Stapleton
                                                          Suite 100-B
                                                          2802 Paces Ferry Road SE
                                                          Atlanta, GA 30339
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 1011(c).

If you fail to respond to this summons, the order for relief will be entered.



                                                                                       (Clerk of the Bankruptcy Court)

         Date:                                         By:                                     (Deputy Clerk)




* Set forth all names, including trade names, used by the debtor within the last 8 years. (Fed. R .Bankr. P. 1005).
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                               Exhibit Summons Page 2 of 2



                                CERTIFICATE OF SERVICE

        I,                                   (name), certify that on
(date), I served this summons and a copy of the involuntary petition on
(name), the debtor in this case, by [describe the mode of service and the address at which the
debtor was served]:




       If service was made by personal service, by residence service, or pursuant to state law, I
further certify that I am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning which service of process was made.

       Under penalty of perjury, I declare that the foregoing is true and correct.


       Date                               Signature

              Print Name :

              Business Address:
